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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO


AMERICAN GENERAL LIFE
INSURANCE COMPANY,
      Plaintiff,                                               Case No.
             v.
BRIAN MCKENNA,
K.M., A MINOR,
                                              COMPLAINT FOR INTERPLEADER
and                                                     RELIEF
J.M., A MINOR,

      Defendants.

      Plaintiff American General Life Insurance Company, by its undersigned

attorney, hereby files its Complaint for Interpleader Relief pursuant to Fed. R. Civ.

P. 22 against Defendants Brian McKenna, K.M., a minor, and J.M., a minor, and

states as follows:

                                    PARTIES

      1.     Plaintiff American General Life Insurance Company (“American

General”) is a Texas insurance corporation with its principal place of business in

Houston, Texas.

      2.     Defendant Brian M. McKenna (“McKenna”) is a citizen of the State of

New Mexico residing in Sandoval County.

      3.     Defendant K.M is a minor and is a citizen of the State of New Mexico

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residing in Sandoval County.

       4.     Defendant J.M. is a minor and is a citizen of the State of New Mexico

residing in Sandoval County.1

                           JURISDICTION AND VENUE

       5.     This Court has original jurisdiction over this interpleader action

pursuant to 28 U.S.C. § 1332 as no Defendant is a citizen of Texas and the amount

in controversy exceeds $75,000.

       6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as all

Defendants reside in Sandoval County, New Mexico.

                            FACTUAL BACKGROUND

       7.     On or about December 3, 2014, Amanda McKenna (the “Decedent”)

applied for a life insurance policy with American General (the “Application”). See

Application, attached hereto as Exhibit A.

       8.     The Application designates Defendant McKenna, the Decedent’s then-

spouse, as primary beneficiary of the policy and “all children” born of the marriage

between the Decedent and Defendant McKenna as contingent beneficiaries. Id.

       9.     In accordance with the Application, American General issued life

insurance policy no. 0211520544 (the “Policy”) with a face amount of $500,000.



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  Because Defendants K.M. and J.M. are Minors, American General files contemporaneously with
this Complaint its Motion to Appoint a Guardian Ad Litem pursuant to Fed. R. Civ. P. 17(c).
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See Policy, attached hereto as Exhibit B.

      10.    The BENEFICIARY section of the Policy provides:




Id.

      11.    The Decedent and Defendant McKenna had two children during their

marriage, Defendants K.M and J.M.

      12.    In 2021, the Decedent and Defendant McKenna divorced.

      13.    The couple’s Marital Settlement Agreement does not dispose of or

otherwise mention the Policy. See Marital Settlement Agreement, attached hereto as

Exhibit C.

      14.    The Marital Settlement Agreement references several property

addendums which were not included with the documents received by American

General. See id.

      15.    On February 23, 2023, the Decedent passed away.

      16.    American General has no record of receiving a Change of Beneficiary

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Request before the Decedent’s death.

      17.      After the Decedent’s death, American General received a Claimant’s

Statement from Defendant McKenna asserting his right to the Policy’s death benefit

as primary beneficiary. See McKenna Claimant’s Statement, attached hereto as

Exhibit D.

      18.      American General subsequently informed Defendant McKenna that

New Mexico’s revocation upon divorce statute appears to disqualify him as

beneficiary and requested documentary evidence establishing that the designation

was re-affirmed post-divorce.

      19.      Defendant McKenna informed American General that an addendum to

the Marital Settlement Agreement (“Addendum”) addresses the disposition of the

Policy.

      20.      To date, however, American General has not been provided with any

such Addendum.

      21.      Defendant McKenna likewise informed American General that he and

the Decedent had a post-divorce, verbal agreement concerning the disposition of the

Policy.

      22.      American General has received no corroborating evidence of any post-

divorce verbal agreement reached between Defendant McKenna and the Decedent.

      23.      Defendant McKenna adamantly maintains his claim to the Policy’s


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death benefit.

                    COUNT I – INTERPLEADER RELIEF

      24.    American General incorporates by reference Paragraphs 1–23 as if

stated herein.

      25.    New Mexico’s revocation upon divorce statute, N.M. Stat. Ann. § 45-

2-804, provides in relevant part:

      B.    Except as provided by the express terms of a governing
      instrument, a court order or a contract relating to the division of the
      marital estate made between the divorced individuals before or after the
      marriage, divorce or annulment, the divorce or annulment of a
      marriage:

      (1) revokes any revocable:

             (a) disposition or appointment of property made by
             a divorced individual to the former spouse in a governing
             instrument and any disposition or appointment created by law or
             in     a    governing    instrument    to   a     relative   of
             the divorced individual’s former spouse;

      26.    In the absence of an Addendum to the Marital Settlement Agreement

or an enforceable agreement between Defendant McKenna and the Decedent related

to the Policy, Section 45-2-804 appears to disqualify Defendant McKenna as

primary beneficiary of the Policy.

      27.    If § 45-2-804 does disqualify Defendant McKenna as a beneficiary, the

Policy death benefit would be payable equally to K.M. and J.M as children of the

marriage between Defendant McKenna and the Decedent.


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      28.    Moreover, even if Defendant McKenna is disqualified as beneficiary

pursuant to § 45-2-804, he may nevertheless have an adverse claim to a portion of

the Policy proceeds pursuant to New Mexico’s community property laws. See

Roselli v. Rio Cmtys. Serv. Station, 787 P.2d 428, 513 (N.M. 1990) (“[P]ayment of

life insurance policy premiums with community funds results in a community

property interest in the policy proceeds.”)

      29.    Based on the foregoing, there exists actual or potential, rival, adverse,

and conflicting claims to the proceeds described above, and American General is

unable to discharge its admitted liability without exposure to multiple liability,

multiple litigation, or both.

      30.    American General is an innocent stakeholder seeking to interplead

funds into the Court’s Registry to resolve conflicting claims and the potential for

multiple litigation relating to the proceeds due and owing under the Policy.

      31.    American General neither has, nor claims, any interest in the proceeds

due under the Policy, and at all times has been willing to pay the proceeds to the

person or persons entitled to it.

      32.    American General should not be compelled to become involved in the

dispute or contentions of competing claimants, and the competing claimants should

be ordered to litigate amongst themselves without further involvement of American

General.


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       33.    American General has in no way colluded with any of the parties named

herein concerning the matters of this case. American General filed this Complaint

for Interpleader Relief on its own free will to avoid multiple liability, multiple

litigation, or both.

       34.    American General will seek leave to deposit into the Registry of the

Court the proceeds due under the Policy, plus applicable interest, if any.

       35.    American General alleges that it is entitled to interpleader relief

pursuant to Fed. R. Civ. P. 22 and further alleges that it is entitled to recover

reasonable attorneys’ fees and costs as a result of these proceedings.

                             RELIEF REQUESTED

       WHEREFORE, Plaintiff American General Life Insurance Company

requests:

       A.     That the Defendants be required to make full and complete Answer to

this Complaint for Interpleader Relief, setting forth to which party the proceeds

belong, or any part thereof rightfully belongs, and how they make their claims

thereto;

       B.     That this Court determine and declare the rights of the Defendants to

the proceeds payable under American General Life Insurance Policy No.

0211520544.




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      C.     That this Court discharge American General of and from any and all

further liability under American General Life Insurance Policy No. 0211520544 and

on account of the death of Amanda McKenna.

      D.     That this Court enter an order awarding American General its attorneys’

fees and costs in connection with this action, to be deducted from the proceeds

payable under American General Life Insurance Policy No. 0211520544.

      E.     That this Court excuse American General from further attendance upon

this cause and dismiss American General from this case, with prejudice;

      F.     That the Defendants be enjoined from instituting or prosecuting

American General in any proceedings in any state or United States Court or

administrative tribunal relating to the proceeds payable under American General

Life Insurance Policy No. 0211520544 and on account of the death of Amanda

McKenna and that said injunction issue without bond or surety; and

      G.     That this Court grant American General such other and further relief

that this Court deems just and equitable.

      Dated: September 27, 2023




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                                     Respectfully submitted,

                                     Dickinson Wright PLLC
                                     221 North Kansas Street, Suite 2000
                                     El Paso, Texas 79901
                                     Tel: (915) 541-9322
                                     Fax: (844) 670-6009

                                     By: /s/ Adrian Acosta
                                         Adrian Acosta
                                         New Mexico State Bar No. 160403
                                         Aacosta@dickinsonwright.com


                        CERTIFICATE OF SERVICE

      I hereby certify that a copy of the Complaint and Summons will be served on

each Defendant in accordance with the Federal Rules of Civil Procedure as follows:

Brian McKenna
6321 Vatapa Rd NE
Rio Rancho, NM 87124

J.M. and K.M.
To be served upon appointment of Guardian Ad Litem


                                     By: /s/ Adrian Acosta
                                         Adrian Acosta




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